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5    Attorney for Defendant
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8                           IN THE UNITED STATED DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00298 OWW
                                                     )
12                  Plaintiff,                       )
                                                     )   STIPULATION AND ORDER TO
13          vs.                                      )   CONTINUE SENTENCING HEARING
                                                     )
14   DONALD MONACO,                                  )   DATE: April 25, 2011
                                                     )   TIME: 9:00 AM
15                  Defendant.                       )   Honorable Oliver W. Wanger
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17          It is hereby stipulated between the parties that the sentencing hearing in this matter be
18   continued from April 11, 2011 at 9:00 am, to April 25, 2011 at 9:00 am. The reason for the
19   continuance is that counsel for the defendant and his client have new issues about how to
20   proceed at sentencing and the continuance should give them additional time to resolve those
21   issues so that new counsel will not have to be appointed and the case further delayed.
22
     Dated: April 7, 2011                                  /s/Carl M. Faller
23                                                         CARL M. FALLER
                                                           Attorney for Defendant
24
                                                           BENJAMIN B. WAGNER
25
                                                    By /s/Kimerly Sanchez
26
                                                          KIMBERLY SANCHEZ
27                                                        Assistant U. S. Attorney
                                                          Attorney for the United States
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              Case 1:09-cr-00298-AWI Document 125 Filed 04/08/11 Page 2 of 2



1                                                ORDER

2           IT IS ORDERED that defendant’s sentencing hearing currently set for April 11, 2011 at

3    9:00 am., be continued until April 25, 2011 at 9:00 am.

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     IT IS SO ORDERED.
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18      Dated:     April 7, 2011                                           /s/ Oliver W. Wanger
                                                              UNITED STATES DISTRICT JUDGE
                                                     DEAC_Signature-END:




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